                                                                                           The Honorable: Marc Barreca
                                                                                           Chapter 7
                                                                                           Location: via ZoomGov
                                                                                           Hearing Date:    / /2023
                                                                                           Hearing Time: 10:00 a.m.
                                                                                           Response Date: / /2023
2A
 /2009
 /2011
 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                        WESTERN DISTRICT OF WASHINGTON
                                                                SEATTLE DIVISION


                In Re:                                                                          §
                                                                                                §
                Timothy Donald Eyman                                                            §           Case No. 18-14536
                                                                                                §
                                                              Debtor                            §

                                                   AMENDED TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                        1. A petition under chapter 11 of the United States Bankruptcy Code was filed on
                11/28/2018. The case was converted to one under Chapter 7 on 12/17/2021. The undersigned
                trustee was appointed on 12/17/2021.

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $             927,891.90

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                         0.00
                                                  disbursement
                                                  Administrative expenses                                                      570,868.88
                                                  Bank service fees                                                              5,670.17
                                                  Other payments to creditors                                                        0.00
                                                  Non-estate funds paid to 3rd Parties                                               0.00
                                                  Exemptions paid to the debtor                                                      0.00
                                                  Other payments to the debtor                                                       0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $             351,352.85

          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
          UST Form 101-7-TFR (5/1/2011) (Page: 1)



                 Case 18-14536-MLB                      Doc 525            Filed 10/16/23              Ent. 10/16/23 09:06:16                     Pg. 1 of 17
       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 03/25/2022 and the
      deadline for filing governmental claims was 05/28/2019. All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $49,644.60. To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $31,909.09 as interim compensation and now requests a sum of
      $17,735.51, for a total compensation of $49,644.602. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $32.62, and now requests
      reimbursement for expenses of $30.03, for total expenses of $62.652.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 09/28/2023                                     By:/s/Virginia Andrews Burdette
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011) (Page: 2)



       Case 18-14536-MLB                      Doc 525            Filed 10/16/23              Ent. 10/16/23 09:06:16                     Pg. 2 of 17
                                                                                                                                                                                                    Page:       1

                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                    ASSET CASES
                                                                                                                                                                                                     Exhibit A
Case No:               18-14536                      MLB           Judge:        Marc Barreca                                 Trustee Name:                      Virginia Andrews Burdette
Case Name:             Timothy Donald Eyman                                                                                   Date Filed (f) or Converted (c):   12/17/2021 (c)
                                                                                                                              341(a) Meeting Date:               01/25/2022
For Period Ending:     09/28/2023                                                                                             Claims Bar Date:                   03/25/2022


                                    1                                           2                            3                             4                          5                             6

                         Asset Description                                    Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                       Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                              Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                        Exemptions,                                                                               Assets
                                                                                                      and Other Costs)

  1. 11913 59Th Ave W                                                               950,000.00                   390,835.60                                               906,484.00                          FA
     Mukilteo Wa 98275-0000 Snohomish
  2. 2013 Ford Explorer Primarily Driven By Debtor                                    2,000.00                         0.00                                                       0.00                        FA
  3. 2013 Mercedes C300 Non-Filing Spouse, Registered In Her                          6,000.00                     6,000.00               OA                                      0.00                        FA
     Name Only
  4. 2012 Chrysler Touring 200 Son's Car. Gift Post-Confirmation                      2,000.00                     2,000.00               OA                                      0.00                        FA
     In 2020.
  5. All Household Goods, Furnishings, Appliances, Of The                             6,785.00                      285.00                OA                                      0.00                        FA
     Family. Mostly Still At Home In Mukilteo. Some At Current
     Residence (

     Lq Apartment)
  6. Musical Instruments - Piano And Trombone                                              70.00                     70.00                OA                                      0.00                        FA
  7. Iphone (Debtor)                                                                      300.00                       0.00                                                       0.00                        FA
  8. Books, Knick Knacks, And Other Keepsakes                                              45.00                       0.00               OA                                      0.00                        FA
  9. Clothing And Accessories                                                             900.00                       0.00               OA                                      0.00                        FA
 10. Jewelry, Including Wedding Rings Of Debtor And Non-Debtor                            700.00                       0.00               OA                                      0.00                        FA
     Spouse
 11. Cats And Pet-Related Items                                                            20.00                     20.00                                                        0.00                        FA
 12. Cash                                                                                  27.00                     27.00                                                        0.00                        FA
 13. Bank Of America Amounts In 4 Accounts Listed In                                 10,618.00                    10,618.00                                                20,764.17                          FA
     Declaration. Represents Gifts All Post-Petition.
 14. Tim Eyman, Watchdog For Taxpayers, Llc Closed In                                       0.00                       0.00                                                       0.00                        FA
     December 2018 100% Ownership
 15. IRA Pershing - Debtor                                                          192,064.00                         0.00                                                       0.00                        FA
 16. IRA Pershing - Non-Debtor Spouse                                                92,414.00                         0.00                                                       0.00                        FA
 17. Carol Williams-Rental Security Deposit                                           3,500.00                      500.00                                                        0.00                        FA
 18. Personal Loan To Permanent Offense                                             411,000.00                   411,000.00               OA                                      0.00                        FA
 19. Home Office Furniture And Supplies                                                    70.00                       0.00               OA                                      0.00                        FA

      UST Form 101-7-TFR (5/1/2011) (Page: 3)

                                        Case 18-14536-MLB             Doc 525          Filed 10/16/23             Ent. 10/16/23 09:06:16                  Pg. 3 of 17
                                                                                                                                                                                                       Page:       2

                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              18-14536                         MLB            Judge:        Marc Barreca                                 Trustee Name:                      Virginia Andrews Burdette
Case Name:            Timothy Donald Eyman                                                                                       Date Filed (f) or Converted (c):   12/17/2021 (c)
                                                                                                                                 341(a) Meeting Date:               01/25/2022
For Period Ending:    09/28/2023                                                                                                 Claims Bar Date:                   03/25/2022


                                   1                                                2                           3                             4                          5                             6

                          Asset Description                                      Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
              (Scheduled and Unscheduled (u) Property)                         Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 20. Current Computer                                                                        200.00                       0.00                                                       0.00                        FA
 21. Computer Monitor                                                                         20.00                       0.00                                                       0.00                        FA
 22. Copier                                                                                   75.00                       0.00                                                       0.00                        FA
 23. Electronic equipment and accessories                                                3,050.00                       20.00                                                        0.00                        FA
 24. Void-Former Ch. 11 Asset (u)                                                              0.00                       N/A                                                        0.00                        FA
 25. Void-Former Ch. 11 Asset (u)                                                              0.00                       N/A                                                        0.00                        FA
 26. Void-Former ch. 11 Asset (u)                                                              0.00                       N/A                                                        0.00                        FA
 27. Void-Former Ch. 11 Asset (u)                                                              0.00                       N/A                                                        0.00                        FA
 28. Old Computer and Fax Machine                                                             40.00                       0.00                                                       0.00                        FA
 29. Coats                                                                                   350.00                       0.00               OA                                      0.00                        FA
 30. Shoes                                                                                    50.00                       0.00               OA                                      0.00                        FA
 31. PayPal Account credit balance (u)                                                       643.73                    643.73                                                     643.73                         FA
 32. possible interest in website "URL" permanentoffense.com (u)                         Unknown                          0.00               OA                                      0.00                        FA
 33. Political Donor List maintained by Debtor (u)                                       Unknown                          0.00               OA                                      0.00                        FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $1,682,941.73                $822,019.33                                                 $927,891.90                       $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




      UST Form 101-7-TFR (5/1/2011) (Page: 4)

                                       Case 18-14536-MLB                  Doc 525          Filed 10/16/23            Ent. 10/16/23 09:06:16                  Pg. 4 of 17
                                                                                                                                                                           Page:   3

5.2.23 G.C. preparing motion to abandon all assets of the estate that are not the funds on deposit in the estate's bank account
8.9.22 G.C. letter to Permanent Offense
9.13.22 re: turnover settlement of bank accounts-Dtr to provide original title to Ford Explorer and signed/notarized Title Application for Trustee to sign
5.25.22 Obj to Exemptions in Bank Accounts                                                                                                                                 Exhibit A
2.16.22 State of Washington objected to exemptions on homestead, bank accounts/security deposits, IRA and vehicles
2.12.22 Order authorizing employment of realtor- Krismer
2.3.21 Kary Krismer to possibly determine current market value of Mukilteo property




    UST Form 101-7-TFR (5/1/2011) (Page: 5)

                                     Case 18-14536-MLB                   Doc 525          Filed 10/16/23            Ent. 10/16/23 09:06:16                   Pg. 5 of 17
                                                                                                                                                      Page:   4


RE PROP #             1   --   did not aquire within 1,215 days of filing
                               Post conversion schedules exempt 100% of fair market value, up to any applicable
                               statutory limit; claiming homestead exemption of more than $160,375                                                    Exhibit A
                               2/7/22 Obj to exemptions filed-disallowing or fixing at $125k
                               Summary Judgment: 80% interest is community property; 20% Karen Eyman can claim
                               seperate interest ($250k based on Kary's valuation)
                               Kary Krismer Valuation =$1,250,000.00
                               Motion for Settlement/abandonment/sale to Karen Williams for $906,484.00. Order
                               Entered 8/5/22 Dkt. 483
RE PROP #             2   --   Collateral on Turnover plan (payments of $900 month x12months + $10,607.90 balloon
                               payment due by 9/15/23) re: assets # 13 4 BOA accounts & 31 paypal accounts
                               VIN: 1FM5K8F82DGA50807
RE PROP #             5   --   Exemption of $285 claimed under W.R.C. (1)(d)(ii) denied _472
RE PROP #            13   --   Turnover settlement: (beginning 9/15/22 payments of $900 month x12months +
                               $10,607.90 balloon payment due by 9/1/23) re: assets # 13 4 BOA accounts & 31
                               paypal accounts

                               Declaration lists: Bank of America Accounts: 0371=$3,910.70, 7436 =$1,459.01, 7465
                               =$5,134.21 and 2926 =$114.74

                               Original scheules list: Bank of America: Joint Checking =$198,340.97, Joint Savings
                               =$3,675.47, Joint Savings =$0.22, Heritage Bank Checking-legal fund =$0.00, Heritage
                               Bank Checking =$54,887.37, Key Bank Checking -Legal Fund = $0.00, and Key Bank
                               Checking = $104,746.61
                               472_Order Entered-Exemption denied
RE PROP #            17   --   472_Exemption Awarded $3,000
RE PROP #            18   --   Originally listed as Personal Loan to VOTERS WANT MORE CHOICES-30TABS.com-
                               GIVETHEMNOTHING.COM $500,000.00
                               personal loan to PAC registeres as Permanent Offense
                               Demand letter 8/9/22
                               522_Order Abandon
RE PROP #            23   --   Listed on original schedules: 5 TVs $800, VCR $20, Laptop Computer $50, Xbox $30,
                               IPhone XS (Debtor) $800, IPhone 7 (Spouse) $200, IPhone 7 (Daughter) $200, IPhone
                               XS (Son) $800, IPhone 6 (Son) $150.
RE PROP #            24   --   retainer
RE PROP #            25   --   retainer
RE PROP #            26   --   retainer
RE PROP #            27   --   P.I. Claim
RE PROP #            28   --   Listed on Original Schedules $20.00 each
RE PROP #            29   --   Listed on Original Schedules
RE PROP #            30   --   Listed on Original Schedules
RE PROP #            31   --   listed in supplement to declaration-post conversion schedules_430

                               Turnover settlement: (beginning 9/15/22 payments of $900 month x12months +
                               $10,607.90 balloon payment due by 9/15/23) re: assets # 13 4 BOA accounts & 31
                               paypal accounts
RE PROP #            32   --   522_Order Abandon
RE PROP #            33   --   522_Order Abandon

Initial Projected Date of Final Report (TFR): 12/21/2022          Current Projected Date of Final Report (TFR): 07/01/2023


    UST Form 101-7-TFR (5/1/2011) (Page: 6)

                                    Case 18-14536-MLB                 Doc 525         Filed 10/16/23           Ent. 10/16/23 09:06:16   Pg. 6 of 17
                                                                                                                     Page:   5




                                                                                                                     Exhibit A




UST Form 101-7-TFR (5/1/2011) (Page: 7)

                               Case 18-14536-MLB   Doc 525   Filed 10/16/23   Ent. 10/16/23 09:06:16   Pg. 7 of 17
                                                                                                                                                                                                       Page:           1

                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-14536                                                                                                  Trustee Name: Virginia Andrews Burdette                                   Exhibit B
      Case Name: Timothy Donald Eyman                                                                                           Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX1271
                                                                                                                                               Checking
  Taxpayer ID No: XX-XXX2810                                                                                Blanket Bond (per case limit): $65,000,000.00
For Period Ending: 09/28/2023                                                                               Separate Bond (if applicable):


       1                2                              3                                               4                                                       5                    6                     7

Transaction Date    Check or                 Paid To / Received From                       Description of Transaction                  Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                              Code                                                           ($)
   08/28/22                        Law Office Wanda Nuxoll                   sale of real property                                                           $889,693.58                                $889,693.58

                                                                             Gross Receipts                             $906,484.00

                                   PS Wanda Reif Nuxoll                      title and escrow charges                    ($1,550.00)    2500-000

                                   Snohomish County                          Excise tax                                 ($15,240.42)    2820-000

                        1                                                    11913 59Th Ave W                           $906,484.00     1110-000
                                                                             Mukilteo Wa 98275-0000
                                                                             Snohomish
   08/28/22             1          Law Office of Wanda Nuxoll                sale proceeds                                              1110-000             $906,484.00                              $1,796,177.58
                                                                             settlement/sale of residence
   08/28/22             1          Law Office of Wanda Nuxoll                sale proceeds Reversal                                     1110-000           ($906,484.00)                                $889,693.58
                                                                             duplicate
   09/01/22                        Axos Bank                                 Bank Service Fee under 11                                  2600-000                                         $63.38         $889,630.20
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/19/22             13         Timothy Eyman                             settlement                                                 1129-000                   $900.00                              $890,530.20
                                                                             VB on vacation prior week
   09/22/22                        Tim Eyman                                 settlement                                                                       $20,507.90                                $911,038.10

                                                                             Gross Receipts                              $20,507.90

                        13                                                   Bank Of America Amounts In 4                $19,864.17     1129-000
                                                                             Accounts Listed In Declaration.
                                                                             Represents Gifts All Post-
                                                                             Petition.
                        31                                                   PayPal Account credit balance                  $643.73     1229-000

   09/23/22           2001         Thomas Linde                              Distribution                                                                                          $170,999.94          $740,038.16
                                   Schweet Linde & Coulson                   Per court order docket 490
                                   575 S Michigan St
                                   Seattle, WA 98108
                                   Thomas Linde                                                                     ($163,727.50)       3210-000

                                   Thomas Linde                                                                          ($7,272.44)    3220-000


        UST Form 101-7-TFR (5/1/2011) (Page: 8)                                      Page Subtotals:                                                         $911,101.48           $171,063.32

                                       Case 18-14536-MLB                  Doc 525         Filed 10/16/23                Ent. 10/16/23 09:06:16                Pg. 8 of 17
                                                                                                                                                                                                       Page:           2

                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-14536                                                                                                   Trustee Name: Virginia Andrews Burdette                                  Exhibit B
      Case Name: Timothy Donald Eyman                                                                                            Bank Name: Axos Bank
                                                                                                                     Account Number/CD#: XXXXXX1271
                                                                                                                                                Checking
  Taxpayer ID No: XX-XXX2810                                                                                 Blanket Bond (per case limit): $65,000,000.00
For Period Ending: 09/28/2023                                                                                Separate Bond (if applicable):


       1                2                              3                                                4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                        Description of Transaction                  Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                               Code                                                          ($)
   10/03/22                        Axos Bank                                 Bank Service Fee under 11                                   2600-000                                       $936.27         $739,101.89
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/01/22                        Axos Bank                                 Bank Service Fee under 11                                   2600-000                                       $816.12         $738,285.77
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/01/22                        Axos Bank                                 Bank Service Fee under 11                                   2600-000                                       $788.85         $737,496.92
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/03/23                        Axos Bank                                 Bank Service Fee under 11                                   2600-000                                       $814.28         $736,682.64
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/24/23           2003         Thomas Linde                              Distribution Reversal                                                                                 ($13,220.50)         $749,903.14
                                   Schweet Linde & Coulson                   incorrect amount
                                   575 S Michigan St
                                   Seattle, WA 98108
                                   Thomas Linde                                                                           $13,195.00     3210-000

                                   Thomas Linde                                                                               $25.50     3220-000

   01/24/23           2002         VIRGINIA A BURDETTE                       Distribution                                                                                           $32,158.67          $717,744.47
                                   VIRGINIA ANDREWS BURDETTE,
                                   TRUSTEE
                                   P.O. BOX 16600
                                   SEATTLE, WA 98116
                                   VIRGINIA A BURDETTE                                                                   ($31,909.09)    2100-000

                                   VIRGINIA A BURDETTE                                                                     ($249.58)     2200-000

   01/24/23           2003         Thomas Linde                              Distribution                                                                                           $13,220.50          $704,523.97
                                   Schweet Linde & Coulson
                                   575 S Michigan St
                                   Seattle, WA 98108
                                   Thomas Linde                                                                          ($13,195.00)    3210-000

                                   Thomas Linde                                                                              ($25.50)    3220-000




        UST Form 101-7-TFR (5/1/2011) (Page: 9)                                      Page Subtotals:                                                                 $0.00          $35,514.19

                                       Case 18-14536-MLB                  Doc 525           Filed 10/16/23               Ent. 10/16/23 09:06:16                Pg. 9 of 17
                                                                                                                                                                                                       Page:           3

                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-14536                                                                                                   Trustee Name: Virginia Andrews Burdette                                  Exhibit B
      Case Name: Timothy Donald Eyman                                                                                            Bank Name: Axos Bank
                                                                                                                     Account Number/CD#: XXXXXX1271
                                                                                                                                                Checking
  Taxpayer ID No: XX-XXX2810                                                                                 Blanket Bond (per case limit): $65,000,000.00
For Period Ending: 09/28/2023                                                                                Separate Bond (if applicable):


       1                2                              3                                                4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                        Description of Transaction                  Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                               Code                                                          ($)
   01/24/23           2004         Richard N. Ginnis, CPA                    Distribution                                                                                            $1,148.00          $703,375.97
                                   POB 30081
                                   Seattle, WA 98113
                                   Richard N. Ginnis, CPA                                                                     ($7.00)    3420-000

                                   Richard N. Ginnis, CPA                                                                 ($1,141.00)    3410-000

   01/24/23           2005         GOODSTEIN LAW GROUP PLLC                  Distribution                                                6700-000                                  $328,114.00          $375,261.97
                                   501 S G STREET                            1.23.23 order
                                   TACOMA, WA 98405
   01/24/23           2006         Larry B. Feinstein                        Distribution                                                6700-000                                    $8,112.50          $367,149.47
                                   Attorney at Law                           1.23.23 order
                                   12819 SE 38th St., PMB #40
                                   Bellevue, WA 98006
   01/24/23           2007         UNITED STATES TRUSTEE                     Distribution                                                2950-000                                       $249.58         $366,899.89
                                   700 Stewart St Ste 5103                   1.23.23 Order
                                   Seattle, WA 98101
   01/24/23           2008         Thomas Linde                              Distribution                                                                                           $13,221.00          $353,678.89
                                   Schweet Linde & Coulson
                                   575 S Michigan St
                                   Seattle, WA 98108
                                   Thomas Linde                                                                          ($13,195.50)    3210-000

                                   Thomas Linde                                                                              ($25.50)    3220-000

   02/01/23                        Axos Bank                                 Bank Service Fee under 11                                   2600-000                                       $745.48         $352,933.41
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   03/01/23                        Axos Bank                                 Bank Service Fee under 11                                   2600-000                                       $352.09         $352,581.32
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/03/23                        Axos Bank                                 Bank Service Fee under 11                                   2600-000                                       $389.29         $352,192.03
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/10/23           2009         International Sureties LTD                Payment of 2023 Bond                                        2300-000                                       $291.73         $351,900.30
                                   701 Poydras Street
                                   Suite 420
                                   New Orleans, LA 70139


        UST Form 101-7-TFR (5/1/2011) (Page: 10)                                     Page Subtotals:                                                                 $0.00         $352,623.67

                                      Case 18-14536-MLB                   Doc 525       Filed 10/16/23                   Ent. 10/16/23 09:06:16               Pg. 10 of 17
                                                                                                                                                                                                      Page:           4

                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-14536                                                                                               Trustee Name: Virginia Andrews Burdette                                     Exhibit B
      Case Name: Timothy Donald Eyman                                                                                        Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX1271
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX2810                                                                                Blanket Bond (per case limit): $65,000,000.00
For Period Ending: 09/28/2023                                                                               Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                   6                       7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction               Uniform Tran.        Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                          Code                                                              ($)
   05/01/23                        Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $376.29          $351,524.01
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/01/23                        Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $388.12          $351,135.89
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   08/30/23                        Virginia Burdette                         Distribution                                           2200-000                                         ($216.96)         $351,352.85
                                                                             over payment of interim fees


                                                                                                              COLUMN TOTALS                                $911,101.48          $559,748.63
                                                                                                                    Less: Bank Transfers/CD's                     $0.00                 $0.00
                                                                                                              Subtotal                                     $911,101.48          $559,748.63
                                                                                                                    Less: Payments to Debtors                     $0.00                 $0.00
                                                                                                              Net                                          $911,101.48          $559,748.63




        UST Form 101-7-TFR (5/1/2011) (Page: 11)                                    Page Subtotals:                                                               $0.00               $547.45

                                      Case 18-14536-MLB                   Doc 525       Filed 10/16/23                 Ent. 10/16/23 09:06:16              Pg. 11 of 17
                                                                                                                                                               Page:     5




                                                                                                                                                                Exhibit B
                                                                                          TOTAL OF ALL ACCOUNTS
                                                                                                                                           NET              ACCOUNT
                                                                                                        NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                           XXXXXX1271 - Checking                                            $911,101.48            $559,748.63             $351,352.85
                                                                                                            $911,101.48            $559,748.63             $351,352.85

                                                                                                       (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                               transfers)            to debtors)
                                           Total Allocation Receipts:                     $16,790.42
                                           Total Net Deposits:                           $911,101.48
                                           Total Gross Receipts:                         $927,891.90




UST Form 101-7-TFR (5/1/2011) (Page: 12)                           Page Subtotals:                                            $0.00                $0.00

                              Case 18-14536-MLB       Doc 525           Filed 10/16/23   Ent. 10/16/23 09:06:16         Pg. 12 of 17
                                                                          Exhibit C
                                                                ANALYSIS OF CLAIMS REGISTER
Case Number: 18-14536-MLB                                                                                                 Date: September 28, 2023
Debtor Name: Timothy Donald Eyman
Claims Bar Date: 3/25/2022


Code #      Creditor Name And Address          Claim Class       Notes                              Scheduled          Claimed            Allowed
Admin 1     VIRGINIA A BURDETTE                Administrative                                           $0.00        $49,644.60         $49,644.60
100         VIRGINIA ANDREWS
2100        BURDETTE, TRUSTEE
            P.O. BOX 16600
            SEATTLE, WA 98116

Admin 2     VIRGINIA A BURDETTE                Administrative                                           $0.00            $62.65            $62.65
100         VIRGINIA ANDREWS
2200        BURDETTE, TRUSTEE
            P.O. BOX 16600
            SEATTLE, WA 98116

Admin 9     PS Wanda Reif Nuxoll               Administrative                                           $0.00         $1,550.00          $1,550.00
100
2500




Admin       Snohomish County                   Administrative                                           $0.00        $15,240.42         $15,240.42
9.1
100
2820


3           UNITED STATES TRUSTEE              Administrative                                           $0.00           $249.58           $249.58
100         700 Stewart St Ste 5103
2950        Seattle, WA 98101




Admin 4     Schweet Linde & Rosenblum,         Administrative                                           $0.00       $189,545.50        $189,545.50
100         PLLC
3210        575 S Michigan St
            Seattle, WA 98108


Admin 5     Schweet Linde & Rosenblum,         Administrative                                           $0.00         $7,485.94          $7,485.94
100         PLLC
3220        575 S Michigan St
            Seattle, WA 98108


Admin 8     Richard N. Ginnis, CPA             Administrative                                           $0.00         $1,141.00          $1,141.00
100         P.O. Box 30081
3410        Seattle, WA 98113




Admin 7     Richard N. Ginnis, CPA             Administrative                                           $0.00             $7.00              $7.00
100         P.O. Box 30081
3420        Seattle, WA 98113




                                                                           Page 1                        Printed: September 28, 2023




          UST Form 101-7-TFR (5/1/2011) (Page: 13)

               Case 18-14536-MLB                 Doc 525         Filed 10/16/23      Ent. 10/16/23 09:06:16      Pg. 13 of 17
                                                                          Exhibit C
                                                                ANALYSIS OF CLAIMS REGISTER
Case Number: 18-14536-MLB                                                                                                                Date: September 28, 2023
Debtor Name: Timothy Donald Eyman
Claims Bar Date: 3/25/2022


Code #      Creditor Name And Address          Claim Class        Notes                                           Scheduled            Claimed             Allowed
Admin 3     Kary L. Krismer                    Administrative                                                         $0.00              $0.00                $0.00
100         John L. Scott, Inc.
3510        4735 NE 4th St                                        Realtor hired for valuation, no fee charged
            Renton, WA 98059


Admin 6     Larry B. Feinstein                 Administrative                                                          $0.00         $8,112.50           $8,112.50
150         Attorney at Law
6700        12819 SE 38th St., PMB #40                            762_Order and Allowance as Administrative Expense
            Bellevue, WA 98006


4           GOODSTEIN LAW GROUP                Administrative                                                          $0.00             $0.00               $0.00
150         PLLC
6700        501 S G STREET                                        Withdrawn_507
            TACOMA, WA 98405


5           GOODSTEIN LAW GROUP                Administrative                                                          $0.00       $328,114.00         $328,114.00
150         PLLC
6700        501 S G STREET
            TACOMA, WA 98405


1           KLINEDINST PC                      Unsecured                                                          $77,000.00        $63,858.83          $63,858.83
300         C/O DANIEL AGLE, ESQ.
7100        501 W BROADWAY, 6TH
            FLOOR
            SAN DIEGO, CA 92101

2           STATE OF WASHINGTON                Unsecured                                                               $0.00     $5,529,396.49        $5,529,396.49
300         ATTORNEY
7100        GENERAL''S OFFICE
            ATTN: LINDA DALTON
            PO BOX 40100
            OLYMPIA, WA 98504-0100
6           GOODSTEIN LAW GROUP                Unsecured                                                               $0.00             $0.00               $0.00
300         PLLC
7100        501 S G STREET                                        Legal fees incurred post ch. 7 conversion
            TACOMA, WA 98405                                      Withdrawn _505




            Case Totals                                                                                           $77,000.00     $6,194,408.51        $6,194,408.51
               Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




                                                                                Page 2                                  Printed: September 28, 2023




          UST Form 101-7-TFR (5/1/2011) (Page: 14)

               Case 18-14536-MLB                  Doc 525         Filed 10/16/23              Ent. 10/16/23 09:06:16            Pg. 14 of 17
                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 18-14536
     Case Name: Timothy Donald Eyman
     Trustee Name: Virginia Andrews Burdette
                         Balance on hand                                              $              351,352.85

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
      Trustee Fees: VIRGINIA A BURDETTE                $       49,644.60 $        31,909.09 $        17,735.51
      Trustee Expenses: VIRGINIA A
      BURDETTE                                         $              62.65 $         32.62 $              30.03
      Attorney for Trustee Fees: Schweet Linde &
      Rosenblum, PLLC                            $           189,545.50 $        176,923.00 $        12,622.50
      Attorney for Trustee Expenses: Schweet
      Linde & Rosenblum, PLLC                          $        7,485.94 $         7,297.94 $             188.00
      Accountant for Trustee Fees: Richard N.
      Ginnis, CPA                                      $        1,141.00 $         1,141.00 $               0.00
      Accountant for Trustee Expenses: Richard
      N. Ginnis, CPA                                   $               7.00 $          7.00 $               0.00
      Fees: UNITED STATES TRUSTEE                      $           249.58 $          249.58 $               0.00
      Other: Kary L. Krismer                           $               0.00 $          0.00 $               0.00
      Other: PS Wanda Reif Nuxoll                      $        1,550.00 $         1,550.00 $               0.00
      Other: Snohomish County                          $       15,240.42 $        15,240.42 $               0.00
                 Total to be paid for chapter 7 administrative expenses               $              30,576.04
                 Remaining Balance                                                    $             320,776.81




UST Form 101-7-TFR (5/1/2011) (Page: 15)

     Case 18-14536-MLB                 Doc 525    Filed 10/16/23       Ent. 10/16/23 09:06:16     Pg. 15 of 17
               Applications for prior chapter fees and administrative expenses have been filed as follows:

                                                                          Interim Payments
                         Reason/Applicant             Total Requested     to Date          Proposed Payment
      Other Prior Chapter Professional Fees:
      Larry B. Feinstein                              $         8,112.50 $           8,112.50 $              0.00
      Other Prior Chapter Professional Fees:
      GOODSTEIN LAW GROUP PLLC                        $       328,114.00 $         328,114.00 $              0.00
                 Total to be paid for prior chapter administrative expenses             $                    0.00
                 Remaining Balance                                                      $            320,776.81


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $5,593,255.32 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 5.7 percent, plus interest (if applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount         Interim Payments Proposed
     Claim No.            Claimant                     of Claim               to Date          Payment
     1                    KLINEDINST PC              $        63,858.83 $               0.00 $          3,662.35
                          STATE OF
                          WASHINGTON
     2                    ATTORNEY                   $     5,529,396.49 $               0.00 $       317,114.46
                 Total to be paid to timely general unsecured creditors                 $            320,776.81




UST Form 101-7-TFR (5/1/2011) (Page: 16)

     Case 18-14536-MLB                 Doc 525   Filed 10/16/23      Ent. 10/16/23 09:06:16        Pg. 16 of 17
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE




UST Form 101-7-TFR (5/1/2011) (Page: 17)

     Case 18-14536-MLB                 Doc 525   Filed 10/16/23     Ent. 10/16/23 09:06:16        Pg. 17 of 17
